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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF INDIANA
                      HAMMOND DIVISION AT LAFAYETTE

CHRISTINE MYER,                               )
                                              )
       Plaintiff,                             )
                                              )
vs.                                           )   Cause No. 4:14-cv-00023-TLS-PRC
                                              )
NATIONSTAR MORTGAGE LLC,                      )
                                              )
       Defendant.                             )

                           STIPULATION OF DISMISSAL

       Come Plaintiff, Christine Myer, and Defendant, Nationstar Mortgage, LLC, by

their respective counsel, and show the Court that the above-entitled cause of action has

been fully compromised and settled and the parties hereto stipulate the dismissal

hereof, with prejudice against the refiling thereof, costs paid.


Respectfully submitted,




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                            CERTIFICATE OF SERVICE

       The undersigned certifies that a copy of the foregoing has been served upon the
following counsel of record by email and United States, first class mail, on October 30,
2015:

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